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15                                       UNITED STATES DISTRICT COURT
16                                      CENTRAL DISTRICT OF CALIFORNIA
17                                            )
      Sanrio Company, Ltd. and Sanrio, Inc.,  ) Case No. 8:21−cv−01259 DOC-(ADSx)
18                                            )
                            Plaintiffs,       ) CONSENT DECREE AND
19           v.                               ) PERMANENT INJUNCTION [21]
                                              )
20    Scion Global Production Inc. d/b/a      )
      FINEX, Rick Pan, and Does 1 through 10, )
21    inclusive,                              )
                                              )
22                          Defendants.       )
                                              )
23

24              The Court, having read and considered the Joint Stipulation for Entry of
25    Consent Decree and Permanent Injunction that has been executed by Plaintiffs Sanrio
26    Company, Ltd. and Sanrio, Inc. (collectively “Plaintiffs”) and Defendants Scion
27    Global Production Inc. d/b/a FINEX and Rick Pan (collectively “Defendants”) in this
28    action, and good cause appearing therefore, hereby:
      Sanrio v. Scion: Consent Decree                -1-
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 1              ORDERS that based on the Parties’ Stipulation and only as to Defendants, their
 2    successors, heirs, and assignees, this Consent Decree and Permanent Injunction shall
 3    be and is hereby entered in the within action as follows:
 4    1)        This Court has jurisdiction over the parties to this action and over the subject
 5    matter hereof pursuant to 17 U.S.C. § 101 et seq., and 28 U.S.C. §§ 1331 and 1338.
 6    Service of process was properly made against Defendants.
 7    2)        Plaintiffs have expended considerable resources in the creation and commercial
 8    exploitation of their copyrightable and trademarkable property, and as a consequence
 9    thereof, have acquired intellectual property rights, including but not limited to those
10    rights listed in Exhibits A-B (“Plaintiffs’ Properties”).
11    3)        Plaintiffs have alleged that Defendants have made unauthorized uses of
12    Plaintiffs’ Properties or substantially similar likenesses or colorable imitations thereof.
13    4)        Defendants and their agents, servants, employees, representatives, successor and
14    assigns, and all persons, firms, corporations or other entities in active concert or
15    participation with them who receive actual notice of the Injunction are hereby
16    restrained and permanently enjoined from infringing – directly, contributorily or
17    vicariously – or enabling, facilitating, permitting, assisting, soliciting, encouraging,
18    inducing, authorizing, aiding or abetting, materially contributing to, or persuading
19    anyone to infringe in any manner Plaintiffs’ Properties, including, but not limited to,
20    manufacturing, importing, distributing, advertising, selling, offering for sale, any
21    unauthorized product which features any of Plaintiffs’ Properties (“Unauthorized
22    Products”), and, specifically:
23         a) Importing, manufacturing, distributing, advertising, selling, offering for sale, the
24              Unauthorized Products or any other unauthorized products which picture,
25              reproduce, copy or use the likenesses of or bear a substantial similarity to any of
26              Plaintiffs’ Properties;
27         b) Importing, manufacturing, distributing, advertising, selling, offering for sale,
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      Sanrio v. Scion: Consent Decree                -2-
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 1              renting or offering to rent in connection thereto any unauthorized promotional
 2              materials, labels, packaging or containers which picture, reproduce, copy or use
 3              the likenesses of or bear a confusing similarity to any of Plaintiffs’ Properties;
 4         c) Engaging in any conduct that tends falsely to represent that, or is likely to
 5              confuse, mislead or deceive purchasers, Defendants’ customers and/or members
 6              of the public to believe, the actions of Defendants, the products sold by
 7              Defendants, or Defendants themselves are connected with Plaintiffs, are
 8              sponsored, approved or licensed by Plaintiffs, or are affiliated with Plaintiffs; or
 9         d) Affixing, applying, annexing or using in connection with the importation,
10              manufacture, distribution, advertising, selling, offering for sale, or other use of
11              any goods or services, a false description or representation, including words or
12              other symbols, tending to falsely describe or represent such goods as being
13              those of Plaintiffs.
14    5)        Plaintiffs are entitled to, and shall recover from Defendants, the sum of One
15    Hundred Thousand U.S. Dollars ($100,000.00), pursuant to the terms of the parties’
16    Release and Settlement Agreement dated and effective October 14, 2021.
17    6)        Each side shall bear its own fees and costs of suit.
18    7)        Except as provided herein, all claims alleged in the First Amended Complaint
19    are dismissed without prejudice.
20    8)        This Consent Decree and Permanent Injunction shall be deemed to have been
21    served upon Defendant at the time of its execution by the Court.
22    9)        The Court finds there is no just reason for delay in entering this Consent Decree
23    and Permanent Injunction and, pursuant to Rule 54(a) of the Federal Rules of Civil
24    Procedure, the Court directs immediate entry of this Consent Decree and Permanent
25    Injunction against Defendants.
26    10)       The Court shall retain jurisdiction over Defendants and of this action to
27    entertain such further proceedings and to enter such further orders as may be necessary
28

      Sanrio v. Scion: Consent Decree                -3-
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                 October 21, 2021
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 1                                                     EXHIBIT A
 2                                      SANRIO CO.’S COPYRIGHTED DESIGNS
 3          Copyright                                    Title of Work (Character)
           Registration
 4
          TX 3-769-888                       SANRIO 1993 Product and Sales Promotion Catalog
 5          VA 52-941                                     Hello Kitty Bus Stop Seal Set
           VA 130-419                                 MY MELODY, a bunny with hood
 6         VA 130-421                                            Patty & Jimmy
           VA 130-422                     LITTLE TWIN STARS, a boy and girl with star background
 7
           VA 148-624                    Hello Kitty, Little Twin Stars, My Melody and Robby Rabbit
                                                   Independence Day Stickers (Supplement)
 8         VA 148-625                                              Tuxedo Sam
           VA 148-778                      MY MELODY AND FRIENDS FRAGRANT STICKERS
 9         VA 148-780                                         Hello Kitty Notebook
           VA 246-420                                Hello Kitty with Teddy Bear Stickers
10
           VA 246-421                                           Little Twin Stars
11         VA 636-579                                           KeroKeroKeroppi
           VA 636-580                                                 Pochaco
12         VA 636-581                                               Zashikibuta
           VA 636-582                                                  Pekkle
13         VA 657-748                                         KOBUTA NO PIPPO
           VA 707-212                                           KeroKeroKeroppi
14         VA 811-440                                           Bad Badtz Maru
           VA 840-494                                               Winkipinki
15
           VA 840-495                                                Monkichi
16
           VA 840-496                                              Picke Bicke
           VAu 498-617                                               Chococat
17         Vau 531-649                                    Hello Kitty Head Dress 2001
           Vau 655-028                                     THE RUNABOUTS – 2001
18         VAu 684-322                                    Sanrio 2005 Character Guide
          VAu 1-078-385                                   Sanrio 2010 Character Guide
19        VAu 1-223-912                              Sanrio Character Mini Brochure 2015
          VAu 1-307-709                          AGGRETSUKO/AGGRESSIVERETSUKO
20        VA 1-296-111                                 CHARMMY KITTY / August 04
21
          VA 1-296-115                                        2004 – 100 Characters
          VA 1-303-873                      DOKIDOKI HOTDOG / THE CHILI PEPPER TRIO /
22
                                                    CATALOG EVERYDAY 5 MAY 2003
          VA 1-303-874                                      Character Merchandising
23        VA 1-342-774                            SANRIO 2005 KEROPPI STYLE GUIDE
          VA 1-342-775                                Sanrio 2002 Hello Kitty Style Guide
24                                           PANDAPPLE(INTRO), FROOLIEMEW(FANCY),
           VA 1-370-020                  CHOCOCAT(DOT)/SANRIO 2005 PRODUCT CATALOG
25                                                                  AUG NEW
           VA 1-370-517                        Cotton Flower Summer 2006 Catalog No. 0602
26
           VA 1-370-524                  MY MELODY&KUROMI(flower);HELLO KITTY(bee bear)
                                                       Everyday Catalog December 2005
27
           VA 1-370-525                  CHARMMY KITTY (honey); KUROMI; SUGARBUNNIES;
                                               HELLO KITTY(jewel) Everyday Catalog 2005
28         VA 1-416-373                                    keepin' it green (KEROPPI)
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 1
                                         TENORIKUMA(BLUE CAFE), MY MELODY(HEART),
           VA 1-416-374                   KUROMI(KUROMI5), CHARMMY KITTY(RABBIT),
 2                                        HELLO KITTY(LOGO) EVERYDAY CAT.JUNE 2006
                                          MASYUMARU(INTRO); CINNAMOROLL(SPORT);
 3                                                  SUGARBUNNIES(DOUGHNUTS);
           VA 1-416-375                        CHARMMYKITTY(RABBIT); LITTLE TWIN
 4                                       STARS(STARS); HELLO KITTY(BEAR); EVERYDAY
                                                            CATALOG JULY 2006
 5         VA 1-434-208                     Little Twin Stars with Unicorn Stickers (Supplement)
           VA 1-434-209                 Hello Kitty, Little Twin Stars, My Melody and Robby Rabbit
 6                                                        Independence Day Stickers
           VA 1-434-211                      Hello Kitty with Teddy Bear Stickers (Supplement)
 7         VA 1-352-721                               Keroppi / Little Frog…Big Splash
           VA 1-962-577                                     Gudetama Clear Folder
 8
           VA 1-967-937                    Strawberry News No. 548/ Introducing Kirimichan and
                                                               Gudetama, et al.
 9         VA 1-967-946                                     GUDETAMA Fan Book
10
           VA 1-967-947                                      Gudetama Philosophy
           VA 2-102-318                  AGGRETSUKO/AGGRESSIVERETSUKO: Smartphone
11
                                                          Application Stamp Images
           VA 2-090-677                 AGGRETSUKO/AGGRESSIVERETSUKO Book of Phrases
12                                                             and Expressions

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      Sanrio v. Scion: Consent Decree                     -6-
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 1                                             EXHIBIT B
 2                                      SANRIO CO.’S TRADEMARKS
 3
                                 Trademark          Trademark          Trademark
                                                  Registration No.   Registration Date
 4

 5                                                      1200083          7/6/1982
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 7
                                                        1277721         5/15/1984
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10                                                      4850654         11/10/2015
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                                                        4850657         11/10/2015
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17                                                      4858352         11/24/2015
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                                                        4858353         11/24/2015
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                                                        4869888         12/15/2015
22

23                            HELLO KITTY               1215436         11/9/1982
24
                              HELLO KITTY               1279486         5/29/1984
                              HELLO KITTY               4620151         10/14/2014
25                            HELLO KITTY               4845728         11/3/2015
                              HELLO KITTY               4845735         11/3/2015
26
                              HELLO KITTY               4845739         11/3/2015
27                            HELLO KITTY               4850604         11/10/2015
                              HELLO KITTY               4850605         11/10/2015
28                            HELLO KITTY               4850607         11/10/2015
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                                                 3260858          7/10/2007
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                                                 3359800         12/25/2007
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                                                 3359801         12/25/2007
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 7                                               3359802         12/25/2007
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 9                                               3362513          1/1/2008
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                                                 3445304          6/10/2008

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                                                 4760381          6/23/2015
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14                              GUDETAMA         5074714          11/1/2016

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                                                 5074715          11/1/2016
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                                                 5237626          7/4/2017
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19                             MY MELODY         1305637         11/20/1984
                               MY MELODY         1210192         9/28/1982
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      Sanrio v. Scion: Consent Decree      -8-
